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 7
 8                           UNITED STATES DISTRICT COURT
 9                                  DISTRICT OF ARIZONA
10   Nathan Voss and Monica Voss, husband and            NO. 2:19-cv-05678-PHX-SMB
     wife, as surviving parents of Michael Voss,
11   Decedent, and on behalf of their minor
     daughter, LeighAnn Voss,                            DEFENDANT SUNRISE
12                                                       MEDICAL, LLC’S ANSWER TO
                                           Plaintiffs,   PLAINTIFF’S COMPLAINT
13
                   v.
14
     United Seating and Mobility, LLC d/b/a
15   NuMotion, a foreign limited liability company;
     Sunrise Medical (US), LLC, a foreign limited
16   liability company; Thompson Medical
     Specialties, Inc., a Minnesota corporation,
17   Does 1-20,
18                                       Defendants.
19
20                 Defendant Sunrise Medical, LLC (hereinafter “Sunrise”), for its Answer to
21   Plaintiff’s Complaint, hereby admits, denies, and alleges as follows.
22                 1.     Sunrise hereby denies each and every, all and singular, of Plaintiffs’
23   allegations that are not expressly admitted in this Answer.
24                              PARTIES AND JURISDICTION
25                 2.     Answering Paragraph 1 of Plaintiffs’ Complaint, Sunrise is presently
26   without knowledge or information sufficient to form a belief as to the truth of the
27   allegations contained therein, and therefore denies same.
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 1                 3.     The allegations contained in Paragraphs 2 and 3 of Plaintiff’s
 2   Complaint are not directed to Sunrise; therefore, no response is indicated or provided. To
 3   the extent the allegations are intended to be directed to Sunrise, Sunrise is without
 4   knowledge or information sufficient to form a belief as to the truth of the allegations
 5   contained therein, and therefore denies same.
 6                 4.     Answering Paragraphs 4 and 5 of Plaintiffs’ Complaint, Sunrise
 7   admits that it is a Delaware limited liability company with its principal place of business
 8   in the State of California. Sunrise further admits it designs, manufactures, and distributes
 9   certain wheelchairs and wheelchair components, some of which are sold by third-party
10   vendors to customers in Arizona.
11                 5.     The allegations contained in Paragraphs 6, 7, and 8 of Plaintiff’s
12   Complaint are not directed to Sunrise; therefore, no response is indicated or provided. To
13   the extent the allegations are intended to be directed to Sunrise, Sunrise is without
14   knowledge or information sufficient to form a belief as to the truth of the allegations
15   contained therein, and therefore denies same.
16                 6.     Answering Paragraphs 9 and 10 of Plaintiff’s Complaint, Sunrise
17   asserts that jurisdiction and venue appear to be proper in the United States District Court
18   for the District of Arizona based upon the allegations of Plaintiff’s Complaint. Sunrise
19   further admits that, pursuant to Rule 26.2(b) of the Arizona Rules of Civil Procedure, this
20   product liability action would properly be classified as a “Tier 3” case for discovery
21   purposes only.
22                          GENERAL FACTUAL ALLEGATIONS
23                 7.     Answering Paragraphs 11, 12, and 13 of Plaintiffs’ Complaint,
24   Sunrise is presently without knowledge or information sufficient to form a belief as to the
25   truth of the allegations contained therein, and therefore denies same.
26                 8.     The allegations contained in Paragraphs 14, 15, and 16 of Plaintiff’s
27   Complaint are not directed to Sunrise; therefore, no response is indicated or provided. To
28   the extent the allegations are intended to be directed to Sunrise, Sunrise is without
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 1   knowledge or information sufficient to form a belief as to the truth of the allegations
 2   contained therein, and therefore denies same.
 3                 9.     Answering Paragraphs 17, 18, 19, and 20 of Plaintiffs’ Complaint,
 4   Sunrise admits only that it manufactured and sold a Quickie 2 Manual Wheelchair
 5   pursuant to an order and specifications placed by Numotion. The remaining allegations
 6   are not directed to Sunrise; therefore, no response is indicated or provided. To the extent
 7   the remaining allegations are intended to be directed to Sunrise, Sunrise is without
 8   knowledge or information sufficient to form a belief as to the truth of the allegations
 9   contained therein, and therefore denies same.
10                 10.    The allegations contained in Paragraphs 21 and 22 of Plaintiff’s
11   Complaint are not directed to Sunrise; therefore, no response is indicated or provided. To
12   the extent the allegations are intended to be directed to Sunrise, Sunrise is without
13   knowledge or information sufficient to form a belief as to the truth of the allegations
14   contained therein, and therefore denies same.
15                 11.    Answering Paragraph 23 of Plaintiffs’ Complaint, Sunrise is
16   presently without knowledge or information sufficient to form a belief as to the truth of
17   the allegations contained therein, and therefore denies same.
18                 12.    The allegations contained in Paragraphs 24, 25, 26, and 27 of
19   Plaintiff’s Complaint are not directed to Sunrise; therefore, no response is indicated or
20   provided. To the extent the allegations are intended to be directed to Sunrise, Sunrise is
21   without knowledge or information sufficient to form a belief as to the truth of the
22   allegations contained therein, and therefore denies same.
23                 13.    Answering Paragraphs 28, 29, 30, 31, 32, 33, 34, 35, 36, 37, 38, 39,
24   40, 41, and 42 of Plaintiffs’ Complaint, Sunrise is presently without knowledge or
25   information sufficient to form a belief as to the truth of the allegations contained therein,
26   and therefore denies same.
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 1                                      COUNT 1 (Negligence)
 2                  14.    Answering     Paragraph       43   of   Plaintiffs’   Complaint,   Sunrise

 3   incorporates by reference its responses to Paragraphs 1 through 42 as set forth above.

 4                  15.    Answering Paragraph 44 of Plaintiffs’ Complaint, Sunrise is

 5   presently without knowledge or information sufficient to form a belief as to the truth of

 6   the allegations contained therein, and therefore denies same.

 7                  16.    Answering Paragraph 45 of Plaintiffs’ Complaint, Sunrise admits

 8   only that it was required to comply with any duty that may have been applicable to it

 9   under Arizona law. Sunrise denies that it failed to use reasonable care or was in any way

10   negligent as alleged, or at all.

11                  17.    Answering Paragraphs 46 and 47 of Plaintiffs’ Complaint, Sunrise

12   denies the allegations contained therein to the extent they pertain to it. Sunrise denies that

13   it breached any duties allegedly owed to Plaintiffs or was in any way negligent as alleged,

14   or at all. Sunrise further denies it caused or contributed to Plaintiffs’ alleged injuries and

15   damages.

16                  18.    The allegations contained in Paragraphs 48, 49, 50, and 51 of

17   Plaintiff’s Complaint are not directed to Sunrise; therefore, no response is indicated or

18   provided. To the extent the allegations are intended to be directed to Sunrise, Sunrise is

19   without knowledge or information sufficient to form a belief as to the truth of the

20   allegations contained therein, and therefore denies same.

21                               COUNT 2 (Strict Product Liability)
22                  19.    Answering     Paragraph       52   of   Plaintiffs’   Complaint,   Sunrise

23   incorporates by reference its responses to Paragraphs 1 through 51 as set forth above.

24                  20.    Answering Paragraph 53 of Plaintiffs’ Complaint, Sunrise is

25   presently without knowledge or information sufficient to form a belief as to the truth of

26   the allegations contained therein, and therefore denies same.

27                  21.    Answering Paragraphs 54 and 55 of Plaintiffs’ Complaint, Sunrise

28   admits only that it designs, manufactures, and distributes certain wheelchairs and
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 1   wheelchair components, some of which are sold by third-party vendors to customers in
 2   Arizona.
 3                     22.   Answering Paragraphs 56 and 57 of Plaintiffs’ Complaint, Sunrise
 4   denies the allegations contained therein to the extent they apply to it. Sunrise further
 5   denies it caused or contributed to Plaintiffs’ alleged injuries and damages.
 6                     23.   The allegations contained in Paragraphs 58, 59, 60, and 61 of
 7   Plaintiff’s Complaint are not directed to Sunrise; therefore, no response is indicated or
 8   provided. To the extent the allegations are intended to be directed to Sunrise, Sunrise is
 9   without knowledge or information sufficient to form a belief as to the truth of the
10   allegations contained therein, and therefore denies same.
11               COUNT 3 (Negligent Infliction of Emotional Distress to LeighAnn Voss)
12                     24.   Answering    Paragraph       62   of   Plaintiffs’   Complaint,   Sunrise
13   incorporates by reference its responses to Paragraphs 1 through 61 as set forth above.
14                     25.   Answering Paragraphs 63, 64, 65, 66, and 67 of Plaintiffs’
15   Complaint, Sunrise is presently without knowledge or information sufficient to form a
16   belief as to the truth of the allegations contained therein, and therefore denies same.
17   Sunrise denies it caused or contributed to LeighAnn Voss’ alleged injuries and damages.
18                            AFFIRMATIVE AND OTHER DEFENSES
19                     Having answered the allegations in Plaintiff’s Complaint and having denied
20   any liability whatsoever, this answering Defendant further denies any and all allegations
21   that have not been expressly admitted and asserts the following affirmative defenses. By
22   asserting the matters set forth below, Defendant does not allege or admit that it has the
23   burden of proof and/or the burden of persuasion with respect to any of these matters.
24   Defendant asserts as follows:
25                                          FIRST DEFENSE
26                     The Complaint and each claim contained therein fails to state a claim upon
27   which relief can be granted.
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 1                                       SECOND DEFENSE
 2                  Plaintiffs’ claims are barred by the assumption of risk doctrine.
 3                                        THIRD DEFENSE
 4                  Plaintiffs’ claims are barred because the risks, if any, associated with the use
 5   of the products at issue are outweighed by their utility.
 6                                       FOURTH DEFENSE
 7                  Plaintiffs’ claims are barred, reduced and/or limited pursuant to applicable
 8   statutory and common law regarding limitations of awards, caps on recovery, and setoffs.
 9                                         FIFTH DEFENSE
10                  If Plaintiffs have sustained any injuries or damages, such were the result of
11   intervening or superseding events, factors, occurrences or conditions, which were in no
12   way caused by Defendant and for which Defendant is not liable.
13                                        SIXTH DEFENSE
14                  Plaintiffs may not recover from Defendant because the methods, standards,
15   or techniques of designing, manufacturing, and labeling of the products at issue complied
16   with and were in conformity with the generally recognized state of the art laws of the state
17   alleged in Plaintiffs’ Complaint, at the time the products were designed, manufactured,
18   and labeled.
19                                      SEVENTH DEFENSE
20                  Plaintiffs’ claims may be barred, in whole or in part, by the applicable
21   statutes of limitations and of repose.
22                                       EIGHTH DEFENSE
23                  Plaintiffs’ claims are barred, in whole or in part, by doctrines of laches,
24   waiver, unclean hands, estoppel and/or ratification.
25                                        NINTH DEFENSE
26                  Plaintiffs’ claims are barred, in whole or in part, by Plaintiff’s failure to
27   mitigate any damages allegedly sustained.
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 1                                         TENTH DEFENSE
 2                 Plaintiffs’ damages, if any, were the direct result of circumstances over
 3   which Defendant had and continues to have no control.
 4                                     ELEVENTH DEFENSE
 5                 Any verdict or judgment that might be recovered by Plaintiffs must be
 6   reduced by those amounts that have already or will in the future, with reasonable
 7   certainty, indemnify Plaintiffs in whole or in part for any past or future claimed economic
 8   loss from any collateral source such as insurance, social security, workers’ compensation,
 9   or employee benefit program. To the extent that Plaintiffs are seeking recovery for any
10   benefits from any other source for injuries and damages alleged, such benefits are not
11   recoverable in this action under applicable law.
12                                      TWELFTH DEFENSE
13                 Plaintiffs’ injuries and damages, if any, are barred in whole or in part by the
14   actions, omissions, and/or conduct of other defendants or third parties over whom
15   Defendant had no control or authority and, thus, any recovery should be reduced or barred
16   by such parties’ proportionate fault. Defendant reserves the right to assert comparative
17   fault on the part of said parties or persons pursuant to A.R.S. § 12-2501, et seq. This
18   includes, but is not limited to, the driver of the other vehicle involved in the collision
19   described in Plaintiffs’ Complaint.
20                                    THIRTEENTH DEFENSE
21                 Plaintiffs’ claims are barred and/or reduced by Plaintiffs’ comparative
22   negligence and Plaintiffs’ comparative fault.
23                                   FOURTEENTH DEFENSE
24                 Plaintiffs’ claims are barred, in whole or in part, by the alteration,
25   modification, or misuse by Plaintiffs’ or third parties of the products at issue.
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 1                                    FIFTEENTH DEFENSE
 2                 Plaintiffs’ injuries and damages, if any, were due to Plaintiffs’ or decedent’s
 3   preexisting condition or idiosyncratic reaction to the products at issue, for which
 4   Defendant cannot be held responsible.
 5                                    SIXTEENTH DEFENSE
 6                 Should Defendant be held liable to Plaintiffs, which liability is specifically
 7   denied, Defendant would be entitled to a set-off for all sums of money received or
 8   available from or on behalf of any tortfeasor(s) for the same injuries alleged in Plaintiffs’
 9   Complaint.
10                                  SEVENTEENTH DEFENSE
11                 Plaintiffs’ alleged injuries and damages, if any, were caused by the acts or
12   omissions of Plaintiffs, and/or by the fault of Plaintiffs, and thus any recovery might be
13   reduced accordingly or eliminated altogether in accord with applicable statutes and
14   common law, including the law of Arizona and/or the law of any other state whose law
15   may apply.
16                                   EIGHTEENTH DEFENSE
17                 Plaintiffs’ claims are barred by the limitations and defenses set out in the
18   applicable statutes and common law, including but not limited to, the “state of the art”
19   defense. Defendant incorporates by reference all defenses and/or limitations set forth or
20   referenced in applicable statutes and common law, including the law of Arizona and/or the
21   law of any other state whose law may apply.
22                                   NINETEENTH DEFENSE
23                 Plaintiffs’ claims may be barred, in whole or in part, because Plaintiffs did
24   not rely to their detriment upon any statement by Defendant in determining to use the
25   products at issue.
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 1                                     TWENTIETH DEFENSE
 2                   The activities of Defendant alleged in the Complaint conformed with all
 3   industry standards based upon the state of knowledge existing at the relevant time(s)
 4   alleged in the Complaint.
 5                                   TWENTY-FIRST DEFENSE
 6                   Defendant provided adequate and complete warnings for the products it sold
 7   or distributed..
 8                                  TWENTY-SECOND DEFENSE
 9                   If it is determined that any product of Defendant was substantially and
10   materially changed in condition, misused or abused, or was used in any unintentional,
11   unforeseeable, or improper manner, the claims against Defendant must be barred.
12                                   TWENTY-THIRD DEFENSE
13                   Plaintiffs’ claims are barred because based on the state of scientific,
14   industrial, and technical knowledge during the relevant time periods, Defendant’s
15   products at issue were reasonably safe for their normal and foreseeable use at all relevant
16   times, in light of existing reasonably available scientific, industrial, and technical
17   knowledge.
18                                  TWENTY-FOURTH DEFENSE
19                   Defendant preserves all defenses relating to personal jurisdiction and venue,
20   including forum non conveniens.
21                                   TWENTY-FIFTH DEFENSE
22                   Pursuant to the laws of Arizona or that of any other state whose laws may
23   apply, Defendant requests application of the Collateral Source Rule limiting economic
24   damages for medical expenses to the amounts actually paid to a healthcare provider.
25   Plaintiff’s alleged damages, if any, are subject to any applicable credit or set-off
26   allowance for any medical costs that were credited, written off, forgiven, or otherwise
27   extinguished.
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 1                                  TWENTY-SIXTH DEFENSE
 2                 Defendant asserts, as though fully set forth herein, en haec verba, all
 3   applicable affirmative defenses set forth in A.R.S. § 12-683.
 4                                TWENTY-SEVENTH DEFENSE
 5                 No discovery has taken place in this matter. Thus, in order to avoid waiver,
 6   Defendant asserts, as though fully set forth herein, en haec verba, all affirmative defenses
 7   set forth in Rules 8(c) and 12(b) of the Arizona Rules of Civil Procedure, and Rules 8(c)
 8   and 12(b) of the Federal Rules of Civil Procedure, including but not limited to assumption
 9   of the risk and contributory negligence.
10                                    DEFENSES RESERVED
11                 This answering Defendant hereby gives notice that it intends to rely upon
12   any other defenses that may become available or apparent during the discovery
13   proceedings in this matter, and hereby reserves its right to amend its Answer and to assert
14   any such defenses.
15                                        JURY DEMAND
16                 Defendant Sunrise Medical, LLC requests a trial by jury on all issues so
17   triable.
18                 WHEREFORE, Defendant Sunrise Medical, LLC requests that Plaintiffs’
19   Complaint, and all claims alleged therein, be dismissed with prejudice, that it be awarded
20   its costs, disbursements, and attorneys’ fees incurred in the defense of this action, and that
21   it be granted any other relief to which it may be entitled.
22
23   ***
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     ***
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26   ***
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 1               DATED this 10th day of January, 2020.
 2                                          JONES, SKELTON & HOCHULI, P.L.C.
 3
 4                                          By /s/ Donn C. Alexander
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 1                                   CERTIFICATE OF SERVICES
 2               I hereby certify that on the 10th day of January, 2020, a true and accurate copy of
 3
     the foregoing document was filed electronically with the Clerk of the Court using the
 4
     CM/ECF system, which sent notification of such filing to all counsel of record.
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21                                                 /s/Donn C. Alexander
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